                                Case 24-16283-JKS                Doc 21-1 Filed 10/15/24 Entered 10/15/24 15:36:04                             Desc
                                                                 Exhibit A- Cash Receipts Page 1 of 1

August
8/1/2024-8/31/2024
Cash Receipts
Date        Description                                                                Source                       Statement Period   Amount          Account Designation
8/14/2024 OTHER FIN INST ATM SURCHARGE REIMB                                           Lisa Personal 4943 DIP       August Export      $        1.00   Bank Fees
8/30/2024 DEBIT CARD CREDIT 5445546006 VIS 0829 AMAZON MKTPLACE PMTS Amzn.com/bi WA    PNC Joint Checking 2001      August Export      $       42.14   General Merchandise
8/5/2024    DEBIT CARD CREDIT 0934646001 VIS 0803 814 HOME & HARDWARE LL BROCKWAY PA   PNC Joint Checking 2001      August Export      $       11.12   Home Improvement
8/22/2024 INTEREST PAYMENT                                                             PNC Joint Checking 2001      August Export      $        0.03   Interest
8/31/2024 INTEREST PAYMENT                                                             PNC Joint Savings 0164 DIP   August Export      $        0.01   Interest Income
8/31/2024 INTEREST PAYMENT                                                             PNC Joint Savings 5397 DIP   August Export      $        0.19   Interest Income
8/8/2024    CORPORATE ACH LOCUM TENENS MED CORP PAY                                    PNC Joint Checking 2001      August Export      $    7,920.00   Other Income
8/26/2024 CORPORATE ACH LOCUM TENENS MED CORP PAY                                      PNC Joint Checking 2001      August Export      $   10,800.00   Other Income
8/2/2024    CORPORATE ACH 0000013545 SCI DISBURSEMENT PAYABLES                         PNC Joint Checking 2001      August Export      $   10,757.46   Paychecks
8/16/2024 ACH CREDIT     21066833 AYA LOCUMS LLC PAYROLL                               PNC Joint Checking 2001      August Export      $    1,264.25   Paychecks
8/23/2024 ACH CREDIT     21066833 AYA LOCUMS LLC PAYROLL                               PNC Joint Checking 2001      August Export      $    8,007.50   Paychecks
8/30/2024 ACH CREDIT     21066833 AYA LOCUMS LLC PAYROLL                               PNC Joint Checking 2001      August Export      $    1,160.00   Paychecks
8/30/2024 CORPORATE ACH 0000013545 SCI DISBURSEMENT PAYABLES                           PNC Joint Checking 2001      August Export      $    9,993.36   Paychecks
8/20/2024 ONLINE TRANSFER FROM       XXXXX6282                                         PNC Joint Checking 2001      August Export      $      200.34   Transfers
8/22/2024 ONLINE TRANSFER FROM       XXXXX5397                                         PNC Joint Checking 2001      August Export      $    1,000.00   Transfers
8/26/2024 ONLINE TRANSFER FROM       XXXXX6282                                         PNC Joint Checking 2001      August Export      $      210.94   Transfers
8/27/2024 ONLINE TRANSFER FROM       XXXXX2001                                         Lisa Personal 4943 DIP       August Export      $      500.00   Transfers
8/23/2024 TWH AUTO TRANSFER FROM          XXXXX2001                                    PNC Joint Savings 0164 DIP   August Export      $      250.00   Transfers
8/27/2024 ONLINE TRANSFER FROM       XXXXX2001                                         PNC Joint Savings 5397 DIP   August Export      $   13,000.00   Transfers
8/23/2024 TWH AUTO TRANSFER FROM          XXXXX2001                                    PNC Joint Savings 5397 DIP   August Export      $       25.00   Transfers
8/5/2024    ONLINE TRANSFER FROM     XXXXX2001                                         PNC Joint Savings 5397 DIP   August Export      $    5,500.00   Transfers
